► FileNo.
                                                                              STATE OF NORTH CAROLINA




                                                                                                                                                                                                                              USA_00000149
                                                                                                                                                                               In The General Court Of Justice
                                                                                              CATAWBA
                   SEARCH WARRANT                                                                                              County                                           District/Superior Court Division

                       IN THE MATTER OF
430 S Center St                                                               To any officer with authority and jurisdiction to conduct the search authorized by this Search Warrant
Hickory NC 28602
                                                                              I, the undersigned, find that there is probable cause to believe that the property and person described in the
                                                                              application on the reverse side and related to the commission of a crime is located as described in the
                                                                              application.

                                                                              You are commanded to search the premises, vehicle, person and other place or item described in the
Name Of Applicant                                                             application for the property and person in question. If the property and/or person are found, make the
T.JOHNSON                                                                     seizure and keep the property subject to Court Order and process the person according to law.
Name Of Additional Affiant(s)
                                                                              You are directed to execute th.is Search Warrant within forty-eight (48) hours from the time indicated on this
 ..   •
           .·•·•
          •.     RETURN OF.SERVICE             .....        I ..·             Warrant and make due return to the Clerk of the Issuing Court.
I certify that this Search Wa.rrant was received and
executed as follows:                                                          This'Search Warrant is issued upon information furnished under oath or affirmation by the person(s) shown.
Date(! ,t,ed                             Time Received
            (pl 12.                      J/-'3?' □ AM (g'PM
DateExi

  4 ?c 2 :z"'"' .         LI:
                                         Time
                               □ AM ffii'M
                                                Ex,s's'd
B?'friiade a search of l/-30 £ O,r,d--ec ILJ-6Issued    Zm}e: Issued O      Date


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                                                                                                                  AM
                                                                                                                                                                              l~/.t-~./l
         '                                 □ DeputyCSC □ Assistant= Ocsc ~ Mag;strate D C>s/rict Ct. Judge 0                                                              Superior Cl Judge


                                                                              NOTE: vWien issulng a search warrant, the issuing official must retain a copy of the warrant and warrant application
                                    as commanded.                                        and must prompUy file them with the clerk. G.S. 15A-245{b).
i31'seized the items listed on the attached
   inventory.
                                                                              This Search Warrant was delivered to me on the date and at the time shown below when the Office of the
D I did not seize any items.                                                  Clerk of Superior Court is closed for the transaction of business. By signing below, I certify that I will deliver
D This Warrant WAS NOT executed within                                        this Search Warrant to the Office of the Clerk of Superior Court as soon as possible on the Clerk's next
   forty-eight (48) hours of the date and time of                             business day.
   issuance and I hereby return it not executed.

      --;, . . _,,.,.
Signature ot =cer             Re/um
                                           ·,
Name Of Officer_!i!akiI·ng Return {type or print)                           Date                  Time
                                                                             q--;:;;~-:Z3 ID c/P 0 PM
                                                                                                                        Name OfMagistmte(~pdcJrint) [ )
                                                                                                                                    -....J              ._,.. "
                                                                                                                                                                              I Signature CJ M<;9.,.istrate
                                                                                                                                                                             r,           • I
                                                                                                                                                                                                              C   ~

                                                                                                                                                                                                                  '-
          -, I /1.                                                            This Search Warrant was returned to the undersigned clerk on the date and time shown below.
Departmenr Agency Of Officer                        incident Number         Date                  Tme                   Name Of Clerk {type or print)                  Signature Of Clerk                         □ Dep.CSC
                                                                                                              n ..,
                                                           ,-,:00269u                                                                                                                                             fr=csc
    U- f c.t:.() /!.'-i            Pn                                                                         □ PM
                                                                                                                                                                                                                  Ocsc
                                                                             Original - File Copy - For Search of a Person, to Person from 1/Vhom Items Taken
                                                    Copy- For Search of Vehicle/Premises, to Owner or Person in Apparent Control; if No Such Person Present, Leave Copy Affixed Thereon
AOCCR-119. Rev. 6/19
                                                                                                                  {Over)
                                      Case 5:23-cr-00038-KDB-SCR
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                                                                     APPLICATION FOR SEARCH WARRA NT




                                                                                                                                                                                                                       USA_00000150
                                                                                                    (and)
1, INV. T. D. JOHNSON
                                                                                                   12.Sl (Name and/or describe other places or items to be searched, if applicable)
            (Insert name and address; or if law enforcement officer, name, rank and agency)
                                                                                                         SEE ATTACHE D
being duly sworn, request that the Court issue a warrant to search the person,
place, vehicle, and other items described in this application and to find and
seize the property and person described in this application. There is probable
cause to believe that (Descnbe property to be seiz.ed; or if search warrant is to be used for
searching a place to seNe an arrest warrant or other process, name person to be arrest.ed)
SEE ATTACHE D                                                                                       The applicant swears or affirms to the following facts to establish probable cause for
                                                                                                    the issuance of a search warrant
                                                                                                    SEE ATTACHED




constitutes evidence of a crime and the identity of a person participating in a
crime, (Name crime) ASSAULT Willi A DEADLY WEAPON                                                                                                                 Date
                                                                                                   SWORNIAFARMED AND SUBSCRIBED TO BEFORE ME

                                                                                                                                                                  Name OfApplicant (type or print)
and is located (Check appropriate box(es) and fill in specified information)                        Date
                                                                                                        <-l ILe. ;:)3                                             T.JOHNSO N.
                                                                                                                                                                  Signature 0,..
1:81 in the following premises (Give address and, if useful, describe premises)                     s;2/4 # ' 1/ ~              L                                        --=---- I m
     SEE ATTACHE D                                                                                                                                                                  u-
                                                                                                               l:8l Magistrate □ Dap.CSC 0Asst CSC 0 Clerk Of surjmor Court                   □ Judge
                                                                                                                                                                     .
                                                                                                                          to the affidavit included above, this application is supported by
                                                                                                     □ In addition
                                                                                                       additional affidavits, attached, made by

 (and)
D on the following person(s) (Give name(s) and, if useful, describe person(s))
                                                                                                                                                                                                        by sworn
     NIA                                                                                             □ In addition to the affidavit included above, this application is supported
                                                                                                       testimony, given by

 (and)                                                                                                      This testimony has been (check appropriate box)               D reduced to writing
 1:8] in the following vehicle(s) /Describe vehic!e(s))                                                     □ recorded,          and I have filed any such writing/recording with the clerk.
     SEE ATTACHE D
                                                                                                     NOTE: If more space is needed for any section, continue the statement on an attached sheet of paper
                                                                                                                W111,   a ifO{gtfon-sayirrg-"see-attadrment"-E>ate-the-contint1ation-and-include-en-iHhe--sigRature-
                                                                                                                of applicant and issuing official_


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STATE OF NORTH CAROLINA                              IN THE DISTRICT COURT OF JUSTICE
COUNTY OF CATAWBA                                    DISTRICT COURT DIVISION

IN THE MATTER OF                                       ATTACHMENT#1

430 S Center St
Hickory NC 28602

ITEMS TO BE SEIZED
                                                                                        weapons a y
Cellular telephones, personal communication devices, U.S. Currency, any and all
                                                       casings, pictures,   video,   still  pictures o
other firearms, ammunition (fired or unfired), shell
                                                                     nts,   docume   ntary    eviden e
preserve the nature of the room; any and all hand written docume
                                                                        all  controlle d   substan ces,
Indicating ownership, possession and control of the residence; any and
used/ unused drug paraphernalia.


ITEMS TO BE SEARCHED

                                                                                 vehicles , n
The residence of 430 S Center St, Hickory NC 28602. Any and all outbuildings and
the property. Officers are standing by at the residence.




  Sworn and Subscribed Before Me
  On 04/06/2023

 £ «f f
 MA~TR ATEhl llOG Ii..,
 State of North Carolina                                          Inv. T. J hnson
 County of Catawba                                                Hickory Police Department
                                                                  Hickory, North Carolina
                                                                  Page_ )_of_. ,2_

                                                               USA_00000151
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 STATE OF NORTH CAROLINA                           IN THE DISTRICT COURT OF JUSTICE
 COUNTY OF CATAWBA                                 DISTRICT COURT DIVISION

IN THE MATTER OF

430 S Center St
Hickory NC 28602

STATEMENT OF PROBABLE CAUSE                        ATTACHMENT #2

This AFFIANT swears to the following facts to establish probable cause for the issuance of a
search warrant:

I, the undersigned, Investigator Tammie D, Johnson, have been a law enforcement officer for
over eight years with the Hickory Police Department. I am currently assigned to the Criminal
Investigations Division and was formerly assigned in the Patrol Division to the area of Southe st
Hickory which is referred to as C,harles PACT. In 2005, I graduated from Lenoir-Rhyne Colleje
with a Bachelor's degree. In 2012, I graduated with my Basic Law Enforcement Certification
from Caldwell County Technical Community College with over 585 hours of training. In 2019,
received my Intermediate Law Enforcement certificate from the North Carolina Criminal Justice
Education and Training Standards Commission. During my time as a police officer, I have
worked on numerous cases including, but not limited to, homicides, robberies, rapes, arsons,
burglaries, larcenies, assaults, controlled substance violations, and breaking and enterlngs.

That this investigation involves probable cause to believe that on Thursday, April 6, 202 at
approximately 03:30 pm, Officer-with the Hickory Police Department received a call for servicl In

                                                                                              b
reference to a male with a single gunshot wound to the leg at 430 S Center St, Hickory, NC. Thhre
was blood in the sidewalk where he was laying.

When Officers arrived on scene, they located Javario Davon Robinson (B/M, DOB 09/11/19 6)
on the sidewalk in front of his residence 430 S Center St. Robinson was transport and then fie n
to a hospital. When Officer attempted to secure the residence, Robinson's father who is heal1/il.y
intoxicated slammed and locked the door. Officers force entry to secure the residence.

A neighbor told Officers that she heard yelling and arguing coming from 430 S Center St and t en
heard one gunshot:

Javario Robinson has been charged several times for narcotics in the past and through my trainling
and experience, drug user and dealer keep narcotics at their home.

The Affiant believes that the above facts provide probable cause to believe that evidence of he
crime of shooting may be inside the residence as well as a firearm involved.

Affiant prays unto '!he• court that a search warrant be issued for the aforementioned descri ed
item.

 Sworn and Subscribed Before Me
 On 04/06/2023

~J-
·MAdiniiiE/JU.DGE                                             AFFIANT
 State of North Carolina                                      Inv. T. J hnson
 County of Catawba                                            Hickory Police Department
                                                              Hickory,9North Carolina
                                                              Page        of    c?
                                                              USA_00000152
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                                                                                                           ► FIia No.
 ST ~TE OF.NORTH CAROLINA
                   CATAWBA                                                                                           In The General Court Of Justice
                                                    County                                                       l8] District D Superior Court Division
                             IN THE MATTER OF:
Name                                                                                                  INVENTORY OF ITEMS SEIZED
JAW RIO DA VON ROBINSON                                                                                  PURSUANT TO SEARCH
                                                                                                                                               G.S. 15A-223, -254, -257
 I, the undersigned officer, executed a search of:
Per.son, Premi.ses Or Vehicle Searched                                                                                           Date Of Search

430        CENTER ST, HICKORY NC                                                                                                               04/06/2023


 This search was made pursuant to
 181 . a search warrant Issued by: MAGISTRATES. ROBERT
 □         . consent to search given by:
 □         . other legal Justification for the search:
 The ollowlng items were seized:
 • Bl ACK WALLET ($70 CASH)
 -GI ASS JAR CONTAINING MARIJUANA (3.98 GRAMS)

 • Bl ACK POCKET KNIFE
 . GI EY SNEAKERS (SIZE I 2)

  -M SC.AMMO

  - 12 GA SHOTGUN SHELL

  • (6) .45 CAL BLAZER AMMO ROUNDS
       1
  - (2jJ BLACK RIFLE MAGAZINE
  • C , UNTERFEIT $100 BILL

  • B ACK EXTENDED MAGAZINE

  • (3 l .45 CAL SHELLS

  • (2j .410 SHELLS

  • TJI URUS JUDGE RE VOL VER (SIN GM73 l 995)

  • B1ACK RUGER LCR .38 SPECIAL REVOLVER (SIN 541-88627)

  - 91 M MAGAZINE WITH AMMO

  •.2 HERITAGE ROUGH RIDER REVOL YER (SIN 1BH459907)

  • Bl RETTA HANDGUN (9 MM) WITH LOADED MAGAZINE (SIN AXC004195)
  • FE G HUNGARY 9MM PISTOL IN CASE MODEL PA-63 (SIN HB4583)

  - (21:LACK RIFLE MAGAZINE WITH AMMO

  - CJ CK COCAINE 16.41 GRAMS
  -A ENGER WATER BONG




       l
                                                                                  Original - F!le
                                                 Copy • Fo'r Search by v\larranl of a Person, to Parson from Whom Items Taken
                Copy - For Search by 'Nanant ofVehlclaJPremises, to Owner or Parson In Apparent Conlro!; ff No Such Person Present, Leave Copy Affi)(edTheraon
                                 Coples - For Search by Consenl, lo Person Giving Consent Jlill! Owner ofVeh!cfe/Premlses Seerehed, If Known
   AO -CR-206, Rev. 3116                                                            (Over)
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                                                                        USA_00000153
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      1
 Items Seized Continued:
  • ANPRJOD CELL PHONE BLACK CASE

  • BLICK UNION WALL SAFE

  • 1-ll 12 GA SHOTGUN SHORT BARREL (SIN NZ924014)

 • M SSBERG 12 GA PISTOL GRJP PUMP SHOTGUN (SIN R762110)

 -DE i.,PI-ll TACTlCAL RJFLE WITH SCOPE (SIN DPF-150080)

 -BU SHMASTER .556 RIFLE WITH SCOPE MODEL XM15-E25 (SINL391310)




 D         1 I left a copy of this Inventory with the person named below, who Is:
       I      a. the owner of the premises searched.
       I      b. the owner of the vehicle searched.




   ~
              c. the person In apparent control of the premises searched.
              d. the person In apparent control of th? vehicle searched.
              e, the person from whom the items were taken,

 ~     2f As no person was present, I left a copy of this invantory:
       [] a. In the premises searched, identified on the reverse.
       I J b. In the vehicle searched, ldentlned on the reverse.
                 Name And Address Of Person To Vv11om A Copy Of Thfs fnven/ory Was Delivered, IfAny
                 JAV ARlO ROBINSON
                 430 SOUTH CENTER ST
                 HICKORY NC 28602


 The I iw enforcement agency Identified below will hold the seized property subject to court order.
                                                                                       Name Of Law Enforcement Officer (type or print)
 SW • RN/AFFIRMED AND SUBSCRIBED TO BEFORE ME                                          T.JOHN~ON
Dale                    Name (type or print)                                           SiQnalurA (111 '_gw-f=nr,;,1<,,,;;11, ..m vwcer
                           ~            woo u                                      -              JV'
                                                                                       Tille O~;w Enforcement Officer
  □ N /al)'         S/g~c~(!
                                                                                       lNV        TIGATOR
                        Date My Commission Expires                                     Name And Address Of Agency
                                                                                       HICKORY POLICE DEPARTMENT
     SE ~L              County Where Notarized                                         347 2ND A VE SW
                                                                                       HICKORY, NC 28602

 0D• buty CSC D Assistant CSC 0 Clerk Of Superior Court ~ a l a
                 '.,,                                                                                                                                           ·-·. '.,
       !                         ,, .
                                 j, '. '
                                               It    I      ACKNOWLEDGMENT OF RECEIPT                                          I         ;,'-   ,'· ·,   "·:.

 I, the undersigned, received a copy of this Inventory.
Date                                                                                   Signature Of Parson Recefvfng lnvento,y



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